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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                           LITTLE ROCK DIVISION


CLAYTON LILES, PERRY CASEY and
GREGORY HALLEY                                                                  PLAINTIFFS


vs.                          Case No. 4:15-cv-469-DPM


ROCK FARMS OF ARKANSAS, LLC, and                                               DEFENDANTS
ROCKY HARRELL, Individually and d/b/a
ROCK FARMS OF ARKANSAS


 JOINT NOTICE OF SETTLEMENT AS TO ATTORNEYS’ FEES AND COSTS

        COME NOW Plaintiffs Clayton Liles, Perry Casey and Gregory Halley, by and

through their counsel of Sanford Law Firm, PLLC, and Defendants Rock Farms of

Arkansas, LLC, and Rocky Harrell (hereinafter collectively referred to as

“Defendants”), by and through counsel David M. Donovan and Staci Dumas Carson

of Watts, Donovan & Tilley, P.A; collectively referred to as the “Parties,” to submit

the following Joint Notice of Settlement as to Attorneys’ Fees and Costs.

        1.    The Court entered judgment in this matter on March 21, 2017. ECF

No. 48. As part of its judgment, the Court directed Plaintiffs to file their motion for

fees and costs, if any, by April 14, 2017. Id.

        2.    The Parties have reached an agreement as to attorneys’ fees and

costs; the Parties’ agreement will not affect the Court’s award of damages to

Plaintiffs.



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       3.     By agreement of the Parties, Defendants will pay the judgment,

including fees and costs, by May 29, 2017; the Parties anticipate filing a Satisfaction

of Judgment on or before that date.

                                               Respectfully submitted,

                                               CLAYTON LILES, PERRY CASEY and
                                               GREGORY HALLEY, PLAINTIFFS

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                                      By:      /s/ Josh Sanford
                                               Josh Sanford
                                               Ark. Bar No. 2001037
                                               josh@sanfordlawfirm.com

                                      And      ROCK FARMS OF ARKANSAS, LLC,
                                               and ROCKY HARRELL, Individually
                                               and  d/b/a ROCK FARMS OF
                                               ARKANSAS, DEFENDANTS

                                      By:      /s/ David M. Donovan
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                                               STACI DUMAS CARSON, ESQ.
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                            CERTIFICATE OF SERVICE

       I, Josh Sanford, do hereby certify that on the 14th day of April, 2017, a true
and correct copy of the foregoing Joint Notice was filed via the CM/ECF system and
that the attorneys named below have consented to the electronic distribution of
pleadings by the CM/ECF system:

       DAVID M. DONOVAN, ESQ.
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                                     By:      /s/ Josh Sanford
                                              Josh Sanford




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